
MOSK, J .
—I concur in the result.
I do so because I am of the view that the California Constitution’s grant to us of “plenary” power (In re Lacey (1938) 11 Cal.2d 699, 701 [81 P.2d 935]; see generally In re Attorney Discipline System (1998) 19 Cal.4th 582, 591-607 [79 Cal.Rptr.2d 836, 967 P.2d 49]) to regulate attorneys (see Cal. Const., art. VI, §§ 1, 9) displaces any contrary restraint that the state charter would otherwise impose in its requirement that our “[d]ecisions . . . that determine causes shall be in writing with reasons stated” {id., art. VI, § 14).
